                Case 1:24-cv-03457-RBW                      Document 12         Filed 01/17/25        Page 1 of 16

                   Case 1:24-cv-03457-RBW                    Document 6        Filed 12/12/24        Page 3 of 10

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                 i         District
                                                     __________     of Columbia
                                                                 District of __________   i
                          Do No Harm                                 )
                                                                     )
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                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:24-cv-03457-RBW
                                                                     )
 Society of Military Orthopaedic Surgeons, d/b/a SOMOS,
 Telita Crosland, in her official capacity,
                                                                     )
 Seileen Mullen, in her official capacity,                           )
 Carlos Del Toro, in his official capacity,                          )
 Lloyd J. Austin III, in his official capacity                       )
                            Defendant(s)                             )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Telita Crosland, in your official capacity as
                                       Director of the Defense Health Agency,
                                       7700 Arlington Blvd. Suite 5101 c/o Telita Crosland
                                       Falls Church, VA 22042




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Cameron T. Norris (VA Bar No. 91624)
                                       CONSOVOY MCCARTHY PLLC
                                       1600 Wilson Blvd., Ste. 700
                                       Arlington, VA 22209
                                       (703) 243-9423



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:         12/12/2024                                                                  /s/ Ma. Ursula Masagca
                                                                                          Signature of Clerk or Deputy Clerk
                 Case 1:24-cv-03457-RBW                      Document 12         Filed 01/17/25             Page 2 of 16

                    Case 1:24-cv-03457-RBW                    Document 6        Filed 12/12/24             Page 4 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                                ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                           , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                                ; or

           ’ I returned the summons unexecuted because                                                                                 ; or

           X Other (specify): served by certified mail pursuant to FRCP 4(i), delivered 1/10/25 to the following:
           ’
              Telita Crosland, in your official capacity as Director of the Defense Health Agency,                                             .
              7700 Arlington Blvd. Suite 5101 c/o Telita Crosland Falls Church, VA 22042

           My fees are $                           for travel and $                  for services, for a total of $             0              .


           I declare under penalty of perjury that this information is true.


             1/17/2025                                                          /s/ Abraham Figueroa
 Date:
                                                                                            Server’s signature

                                                                                  Abraham Figueroa, Research Associate

                                                                                         Printed name and title

                                                                              Consovoy McCarthy PLLC
                                                                              1600 Wilson Blvd, Ste. 700
                                                                              Arlington, VA 22209
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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Page 4 of 16




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Case 1:24-cv-03457-RBW




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                Case 1:24-cv-03457-RBW                     Document 12         Filed 01/17/25        Page 5 of 16

                   Case 1:24-cv-03457-RBW                   Document 6        Filed 12/12/24        Page 5 of 10

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                          Do No Harm                                )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:24-cv-03457-RBW
                                                                    )
Society of Military Orthopaedic Surgeons, d/b/a SOMOS,
Telita Crosland, in her official capacity,                          )
Seileen Mullen, in her official capacity,                           )
Carlos Del Toro, in his official capacity,                          )
Lloyd J. Austin III, in his official capacity                       )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Seileen Mullen, in her official capacity as
                                       Acting Assistant Secretary of Defense for Health Affairs,
                                       1000 Defense Pentagon,
                                       Washington, D.C. 20301 c/o Seileen Mullen




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Cameron T. Norris (VA Bar No. 91624)
                                       CONSOVOY MCCARTHY PLLC
                                       1600 Wilson Blvd., Ste. 700
                                       Arlington, VA 22209
                                       (703) 243-9423



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:       12/12/2024                                                                  /s/ Ma. Ursula Masagca
                                                                                         Signature of Clerk or Deputy Clerk
                 Case 1:24-cv-03457-RBW                      Document 12         Filed 01/17/25             Page 6 of 16

                    Case 1:24-cv-03457-RBW                    Document 6        Filed 12/12/24            Page 6 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           X Other (specify): served by certified mail pursuant to FRCP 4(i), delivered 12/20/24 to the following:
           ’
                Seileen Mullen, in her official capacity as                                                                                 .
                Acting Assistant Secretary of Defense for Health Affairs,
                1000 Defense Pentagon, Washington, D.C. 20301 c/o Seileen Mullen
           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


              1/17/2025                                                      /s/ Bethany Huang
 Date:
                                                                                            Server’s signature

                                                                                Bethany Huang, Research Associate

                                                                                        Printed name and title

                                                                                       Consovoy McCarthy PLLC
                                                                                       1600 Wilson Blvd, Ste. 700
                                                                                       Arlington, VA 22209

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Page 7 of 16




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Page 8 of 16




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Case 1:24-cv-03457-RBW




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                Case 1:24-cv-03457-RBW                      Document 12         Filed 01/17/25        Page 9 of 16

                   Case 1:24-cv-03457-RBW                    Document 6        Filed 12/12/24        Page 7 of 10

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                 i         District
                                                     __________     of Columbia
                                                                 District of __________   i
                          Do No Harm                                 )
                                                                     )
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                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:24-cv-03457-RBW
Society of Military Orthopaedic Surgeons, d/b/a SOMOS,               )
Telita Crosland, in her official capacity,                           )
Seileen Mullen, in her official capacity,                            )
Carlos Del Toro, in his official capacity,                           )
Lloyd J. Austin III, in his official capacity                        )
                           Defendant(s)                              )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Carlos Del Toro, in your official capacity as
                                       Secretary of the Navy,
                                       1000 Navy Pentagon,
                                       Washington, D.C. 20350 c/o Carlos Del Toro




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Cameron T. Norris (VA Bar No. 91624)
                                       CONSOVOY MCCARTHY PLLC
                                       1600 Wilson Blvd., Ste. 700
                                       Arlington, VA 22209
                                       (703) 243-9423



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:            12/12/2024                                                                 /s/ Ma. Ursula Masagca
                                                                                          Signature of Clerk or Deputy Clerk
                Case 1:24-cv-03457-RBW                      Document 12         Filed 01/17/25             Page 10 of 16

                    Case 1:24-cv-03457-RBW                    Document 6        Filed 12/12/24            Page 8 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           ’ I returned the summons unexecuted because                                                                               ; or

           X Other (specify): served by certified mail pursuant to FRCP 4(i), delivered 12/20/24 to the following:
           ’
                 Carlos Del Toro, in your official capacity as Secretary of the Navy,                                                        .
                 1000 Navy Pentagon, Washington, D.C. 20350 c/o Carlos Del Toro

           My fees are $                           for travel and $                  for services, for a total of $           0              .


           I declare under penalty of perjury that this information is true.


            1/17/2025                                                            /s/ Bethany Huang
 Date:
                                                                                            Server’s signature
                                                                                   Bethany Huang, Research Associate

                                                                                        Printed name and title

                                                                                      Consovoy McCarthy PLLC
                                                                                      1600 Wilson Blvd, Ste. 700
                                                                                      Arlington, VA 22209

                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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Page 11 of 16




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                                  December 20, 2024 in WASHINGTON, DC 20310.
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Case 1:24-cv-03457-RBW




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               Case 1:24-cv-03457-RBW                      Document 12         Filed 01/17/25          Page 13 of 16

                   Case 1:24-cv-03457-RBW                    Document 6        Filed 12/12/24         Page 9 of 10

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                 i         District
                                                     __________     of Columbia
                                                                 District of __________    i
                          Do No Harm                                 )
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                            Plaintiff(s)                             )
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                                v.                                           Civil Action No. 1:24-cv-03457-RBW
Society of Military Orthopaedic Surgeons, d/b/a SOMOS,               )
Telita Crosland, in her official capacity,                           )
Seileen Mullen, in her official capacity,                            )
Carlos Del Toro, in his official capacity,                           )
Lloyd J. Austin III, in his official capacity
                                                                     )
                           Defendant(s)                              )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lloyd J. Austin III, in your official capacity as
                                       Secretary of Defense,
                                       1000 Defense Pentagon,
                                       Washington, D.C. 20301 c/o Lloyd J. Austin III




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Cameron T. Norris (VA Bar No. 91624)
                                       CONSOVOY MCCARTHY PLLC
                                       1600 Wilson Blvd., Ste. 700
                                       Arlington, VA 22209
                                       (703) 243-9423



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:        12/12/2024                                                                   /s/ Ma. Ursula Masagca
                                                                                           Signature of Clerk or Deputy Clerk
                Case 1:24-cv-03457-RBW                      Document 12         Filed 01/17/25             Page 14 of 16

                   Case 1:24-cv-03457-RBW                    Document 6        Filed 12/12/24            Page 10 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           ’ I returned the summons unexecuted because                                                                               ; or

           X Other (specify): served by registered mail pursuant to FRCP 4(i), delivered 12/20/24 to the following:
           ’
                 Lloyd J. Austin III, in your official capacity as Secretary of Defense,                                                     .
                 1000 Defense Pentagon, Washington, D.C. 20301 c/o Lloyd J. Austin III

           My fees are $                           for travel and $                  for services, for a total of $           0              .


           I declare under penalty of perjury that this information is true.


              1/17/2025                                                         /s/ Bethany Huang
 Date:
                                                                                            Server’s signature

                                                                                   Bethany Huang, Research Associate

                                                                                        Printed name and title

                                                                                      Consovoy McCarthy PLLC
                                                                                      1600 Wilson Blvd, Ste. 700
                                                                                      Arlington, VA 22209
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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Page 15 of 16




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Case 1:24-cv-03457-RBW




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                         USPS Tracking®                                                                                                                             Tracking                FAQs>
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                                                                                                                                                                                   Learn More
                                                                                           Anytime, Anywhere           automated notifications on your packages
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                              Tracking Number:
                              70200090000187230524
                              (o Copy      ':( Add to Informed Delivery
Document 12




                                                                                                               Delivered
                                  Latest Update                                                                Delivered, Individual Picked Up at Postal Facility
                                                                                                           WASHINGTON, DC 20310
                                  Your item was picked up at a postal facility at 6:41 am on               December 20, 2024, 6:41 am
                                  December 20, 2024 in WASHINGTON, DC 20310.
                                                                                                           See All Tracking History
Case 1:24-cv-03457-RBW




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